
*384OPINION.
Milliken:
Petitioner’s claim for a deduction of the sum of $16,602.56 paid as a result of the liability resulting from the breach of the contract with the Birch Fork Coal Co., is clearly an allowable deduction for the fiscal year ended June 30, 1921. The case at bar comes squarely within our decision in the Appeal of Producers Fuel Co., 1 B. T. A. 202.
We have made our findings of fact in great detail. The evidence in this appeal clearly shows that petitioner, after a most careful and painstaking' consideration of all the facts, the attendant and surrounding circumstances, ascertained the debt owed by Coale &amp; Company to be worthless to the extent of 75 per cent thereof, and the debt owed by the Central West Yirginia Fuel Co. to be entirely worthless. The ascertainment was made within the taxable year, and to the extent that these debts were ascertained to be worthless, they were charged, off on the books of the petitioner. The respondent erred in his failure to allow the deductions.
Judgment will be entered on 15 days’ notice, under Rule 50.
